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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

         MINUTES -DETENTION HEARING -REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER -
                                        NEBBIA HEARING

Case No. 20-1341M                                              CourtSmart 03/27/2020                Date: 3/27/2020
Present: The Honorable J~~ E. MCDERMOTT                                                                     U.S. Magistrate Judge
               S. Lorenzo                    ~/. ~~1~p,i"ClrJ/C2                                                  None
              Deputy Clerk                           Assistant U.S. Attorney                               Interpreter /Language


  USA v. KEITH LAWRENCE MIDDLEBROOK                             ~ Attorney Present for Defendant:
                                                                   Ijeoma Eke
  ❑ Present ❑Custody         ❑Bond   ❑Not present                   Present     ❑ CJA   ❑ Retd       DFPD     ❑Not present

P    CEEDINGS: DETENTION HEARING                                              ~
    Government's request for detention is: ❑GRANTED ❑DENIED Q WITHDRAWN ❑CONTINUED
❑   Witnesses CST (see separate list).         ❑Exhibits Marked/Admitted (see separate list).
❑   Court orders that exhibits be returned to the respective counsel /party of record.
    ❑ See Receipt for Release of Exhibits to Counsel.
❑   Counsel stipulation to bail.
❑   Court finds presumption under 18 USC 3142e                                     has not been rebutted.
❑   Court ORDERS     DEFENDANT       PERMANENTLY         DETAINED.      See separate detention order.
❑   Court finds presumption under 18 USC 3142e                                     has been rebutted.
    Court sets bail at: $ ~JrdDO~ ~                                          SEE ATTACHED COPY OF CR-Ol BOND FORM
    FOR CONDITIONS OF RELEASE.
❑   Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.
❑   Court orders further detention /bail hearing to be set on                                       at                ❑a.m./ ❑p.m. in
    Courtroom                                          before Judge
❑   Court orders case continued to                              at                ❑a.m./ ❑p.m. for                            , in
    Courtroom                                before Judge
❑   Release Order Issued -Release No.
❑   Other:


PROCEEDINGS:                 ❑REVIEW /RECONSIDERATION OF BAIL /DETENTION ORDER -BOND HEARING
                             ❑ NEBBIA HEARING

 Hearing on ❑Plaintiffs ❑Defendant's request for review /reconsideration of bail /detention order had and request is:
                           ❑ GRANTED ❑DENIED
 Court ORDERS bail as to the above-named defendant ❑ modified to ❑set at: $
     ❑ SEE ATTACHED COPY OF CR-Ol BOND FORM FOR CONDITIONS OF RELEASE.
 ❑ Bond previously set is ordered vacated.
 ❑ Court orders defendant permanently detained. See separate order.
 D Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 ❑ Witnesses CST (see separate list).        ❑Exhibits Marked /Admitted (see separate list).
 ❑ Court orders that exhibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of Exhibits to Counsel.
 ❑ Case continued to                                   at                ❑ a.m./ ❑ p.m. for
     before Judge                                                                 in Courtroom
 ❑ Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ❑ Other


 Release Order Issued -Release No.
                                                                                          Deputy Clerk Initials   slo


M-46(06/l0)    MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER - NEBBIA HEARING
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                 UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

    Case Name: United States of America v.                                 C~~j         ~~~r_~              Case No.      ~~ ~,~j ~~/~
                                                      Defendant        ~ Material Witness

    Violation of Title and Section:

                                        Summons         ~ Out of District        ~ iJNDER SEAL         ~ Modified Date:

   Check ~o     one ofthefive numbered boxes below (unless one bo          is to be replaced by another):
   1.       Personal Recognizance Signature On y            (~),  Affidavit of Surety With Justification              Release No.
   2. ~ Unsecured Appearance Bond                                 (Fo
                                                                  ~
                                                                             Si~~Eby:~~~~

                                                                                                                         Release to Pretrial ONLY
   3. dAppearance
         $ /~D'l~ Bond
                    ~                                                                                                  ~ Release to Probation ONLY
          ~-                                                                                                           ~ Forthwith Release
     (a).~ Cash Deposit(Amount or %)(Form CR-7)
                                                                           With Full Deeding of Proper

     (b).      Affidavit of Surety Without                                ~~~~{~ ~          ~         "~` .
                ustification (Form Cx-4) Signed by:                       ~ ~~
                                                                                                                        A11 Conditions of Bond
               '   "' V~er                                                                                             ~(Exce~tClearing-Warrants
               ~~JS.~~,r~ ~(,M'~ ~ j̀~y~K                                                                                Condition) Must be Met
              r''~                                                                                                       and osted by:
                                                                                                                            5a~ a~~
                                                                                                                           Third-Party Custody
                                                         4.~ Collateral Bond in the Amount of(Cash                         Affidavit(Form CR-31)
                                                             or Negotiable Securities):
                                                                   $                                                   / Bail Fixed by Court:
                                                         5.~ Corporate Surety Bond in the Amount o£                   ~~ ~l~
                                                              $                                                           (Judge /Clerk's Initials)


                                                       PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
   Q The Court has ordered a Nebbia hearing under g 3142 (g)(4).
        The Nebbia hearing is set for                                       at            ❑ a.m. ❑ p.m.

                                                  ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
~bmit to: [retrial Services Agency(PSA)supervision as directed by PSA; ~ Probation(USPO)supervision as directed by USPO.
                (The agency indicated above,PSA or USPO, will be referred to below as "SupervisinAAAency.'~

    Surrender all passports and travel documents to Supervising Agency no later than                                                  sign a Declaration
    re Passport and Other Travel Documents(Form CR-37), and do not apply for a passport or other travel document during the pendenry
    of this case.
     ravel is restricted to   ~i~~%~                                                             unless prior permission is granted by Supervising
    Agenry to travel to a specific other location. Court permission is required for international travel.
~eside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.

        aintain or actively seek employment and provide proof to Supervising Agency. ~ployment to be approved by Supervising Agency.
    Maintain or begin an educational program and provide proof to Supervising Agency.                         `/
                                                                                                               a
                                                                                     Defendant's Initials:      ~~~          Date:%
                                                            OF CALIFORNIA RELEASE ORDER AND
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    Case Name: United States of America v. ~j17~J ~w~G~ MIO~~~
                                                             j~k                                    Case No.    p~,~ ~ ~37~M
                                                   Defendant     ~ Material Witness
       A  void all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
        witness in the subject investigation or prosecution, ~ including but not limited to
                                                             Q except
        Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
        ofcounsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

 [~Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons.              In order to determine compliance,
        you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
        own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage in telemarketing.
  ~o not sell, transfer, or give away any asset valued at $l~ d Q(~                              or more without notifying and obtaining
        permission from the Court, except
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
        requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
        Supervising Agency.
       Do not use or possess illegal drugs or state-authorized marijuana. ~ In order to determine compliance, you agree to
        submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
        designer psychoactive substance capable ofimpairing mental or physical functioning more than minimally, except as
        prescribed by a medical doctor.
       Submit to:     drug and/or ~alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
       Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       oftreatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
         upervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.

 s    Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
       Agency, which [will or         will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
       upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
           Location monitoring only - no residential restrictions;
                              -or-
           You are restricted to your residence every day:
                    from                  ❑ a.m. ❑ p.m. to                    ❑ a.m. 0 p.m.
                    as directed by Supervising Agency;
                              -or-
                                                                                Defendant's Initials:~Date                         ~/
CR-1 (05/19)                              CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND                                    PAGE 2 OF 4
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                                                        Defendant     ~ Material Witness

               You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and

                                                                                        all of which must be preapproved by Supervising Agency;
               Release to PSA only ~ Release to USPO only
          You are placed in the third-party custody(Form CR-31) of

          Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                    days
           of release from custody.
          Do not possess or have access to, in the home, the workplace, or any other location, any device that offers Internet access except

           as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
           and/or property by Supervising Agency in conjunction with the U.S. Marshal.
          Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
          the age of 18 except in the presence of a parent or legal guardian of the minor.
          Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children

          under the age of 18.
          Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare

          facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
          Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
          of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
          Marshal.
     ~ther conditions:




                                                 GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. g 14135a.

                                                                                     Defendant's                        Date: ~     ~~
CR-1 (05/19)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND              FORM                         PAGE 3 OF 4
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       Case Name: United States of America v. ~(r~ (.FI'W~I~E /"liD~7(~~Ok                             Case No.    p~(~ •~3~~M
                                                        Defendant       ~ Material Witness


                                      ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

      As a condition of my release on this bond, pursuant to Title 18 of the United States Code,I have read or have had interpreted to me
      and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
      all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

      Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
      continue in full force and effect until such time as duly exonerated.

      I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
      release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
      fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
     Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
     judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws ofthe
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
     forfeited.




  ~~ ~                                          ~~                          --_
     Date                                   Signature ofDefendant/Material Witness                      Telephone Number




     City and State(DO NOT INCLUDE ZIP CODE)




         Check ifinterpreter is used: I have interpreted into the                                                  language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                         Date



     Approved:
                               United States District Judge /Magistrate Judge                        Date

     If cash deposited: Receipt #                               for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                  Defendant's Initials: [            Date.
CR-1 (05/19)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                             PAGE 4 OF 4
